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AO 247 (Rev. 11/1 1) Order Regarding Motion for Sentence Reduction Pursuant to IS US C § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                        UNITED STATES DISTRICT COURT
                                                                         for the
                                                          Middle District of Alabama

                    United States of America
                                   V.                                      )
                      TRACY LEE DASSEL                                     )    Case No: 2:1 2cr22 1 -08-M HT
                                                                           )
                                                                           )    USM No: 14575002
Date of Original Judgment:                              05/0712014         )
Date of Previous Amended Judgment:                                         )    Patricia Kemp
(Use Date ofLasr4mended Judgment fAnv)                                          Defendant's Attoniev

                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of T the defendant                   fl
                                                   the Director of the Bureau of Prisons [J the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the tenn of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u). and having considered such motion, and taking into account the policy statement set forth at USSG § IBI. 10
and the sentencin g factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          I   DENIED. []GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of                       months Is reduced to                    months
                                               (complete Parts land If of Page 2 when motion is granted)




Except as otheiwise provided, all provisions of the judgment dated                          05/07/2014             shall remain in effect.
IT IS SO ORDERED.

Order Date:                  02/23/2016                                                         Is) Myron H. Thompson
                                                                                                        Judge's signature

Effective Date:                                                                 Myron H. Thompson, United States District Judge
                     ( ,f d tlferentfrorn order date)                                                 .Prznted name and title
